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 STATE OF SOUTH DAKOTA                                                           IN CIRCUIT COURT
                                               : SS
 COUNTY OF MINNEHAHA                                                   SECOND JUDICIAL CIRCUIT


  BARB ANNE NYREEN,

                  Plaintiff,                                SUMMONS
  V.

  POET, L.L.C.,

                  Defendant.

 THE STATE OF SOUTH DAKOTA TO THE ABOVE-NAMED DEFENDANT:

        YOU ARE HEREBY SUMMONED arid required to serve upon David J. King of King

 Law Firm; Attorney for the Plaintiffs, whose address is 141 N Main Ave, Suite 700, Sioux Falls,

 SD, 57104, an Answer to the Complaint which is herewith served upon you within thirty (30)

 days after the service of this Summons upon you, exclusive of the day of service. In the event of

 your failure to Answer the said Complaint within that time, Judgment by Default will be taken

 against you for the relief demanded in the Complaint after the expiration of at least thirty (30)

 days from the completed service of this Summons and Complaint upon you.

 Dated at Sioux Falls, Minnehaha County, South Dakota, this LOday of               l( ~~" , 2018.
                                                                                              ~
                                                                             1

                                                                             "
                                                                  4     6) 1
                                                               David J. King
                                                               Attorney for Plafntfff
                                                               King Law Firm
                                                               141 N Main Ave, Ste 700
                                                               Sioux Falls, SD 57104
                                                               Phone (605)332-4000




                                                                   EXHIBIT A
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 STATE OF SOUTH DAKOTA                        )                              IN CIRCUIT COURT
                                              : SS
 COUNTY OF MINNEHAHA                          )                     SECOND JUDICIAL COURT


   BARB ANNE NYREEN,

                   Plaintiff,                               COMPLAINT AND JURY
   V.                                                           DEMAND

   POET, L.L.C.,

                   Defendant.

               COMES NOW, Plaintiff Barb Nyreen by and through her attorney, David J.

 King of King Law Firm P.C., 141 N. Main Avenue Suite 700, Sioux Falls, SD 57104 and for her

 Complaint against POET L.L.C. does hereby state and plead as follows:

                                 COMPLAINT AND JURY DEMAND

    1. There is no other civil action between these parties arising out of the same transaction or

        occurrence as alleged in this Complaint pending in this Court, nor has any such action been

        previously filed and dismissed or transferred afler having been assigned to a Judge.

    2. This Honorable Court has jurisdiction over this action pursuant to South Dakota

        Constitution Article § 5 and SDCL § 16-6-9.

    3. Plaintiff Barb Nyreen herewith requests that this matter be heard by a jury of her peers.

                                JURISDICTION AND VENUE

    4. Barb Nyreen brings Count I of this action under the Age Dfscrimination ln Employment

        Act of 1967 (ADEA) which protects individuals who are over age 40 from employment

        discrimination based upon age.

    5. Barb Nyreen filed a Charge of Discrimination alleging Age Discrimination with the City

        of Sioux Falls on November 15, 2017. (See, attached exhibit "A").


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    6. On November 21, 2017, Nyreen filed a Charge of Discrimination with The U.S. Equal

        Employment Opportunity Commission (Minneapolis Area Office). (See, attached exhibit

         :

    7. It is charge number 444-2018-00011.

    8. Nyreen has received a"Right to Sue" letter. See, attached exhibit "C").

    9. Nyreen has exhausted all administrative procedures prerequisite to bringing this case.

        See, attached exhibit "C")

    10.Venue is appropriate in this judicial district because the events that gave rise to this

       Complaint occurred in this district.

                                                 PARTIES

    11.Barb Nyreen is an adult citizen of the United States who resides in Sioux Falls,

       Minnehaha County, State of South Dakota, which is in this judicial district.

    12. Defendant POET, L.L.C. is the largest company in South Dakota. It is one of the largest

       producers of ethanol, feed solutions, and other oil replacement products in the world.

                                               FACTS

    13.Nyreen is a 60-year-old woman. Her date of birth is

    14.Nyreen's qualifications include having her PhD, PHR and is SHRM-CP certified.

    15.Nyreen was an employee of the Defendant, POET, L.L.C. since September 15, 2011.

    16. POET, L.L.C. had an employee handbook which, among other things provided:

               "In order to provide equal employment and advancement
               opportunities to all individuals, employment decisions at POET,
               LLC will be based on merit, qualifications and abilities. POET.
               LLC does not discriminate in employment opportunities or
               practices on the basis of race, color, religion, sex, national
               origin, age pregnancy, disability or any other characteristic
               protected by law."



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    17.Barb Nyreen was employed in the Human Resources Department. She was a"CARE

        TEAM MEMBER". Her job description is attached as Exhibit D.

    18.Nyreen had a high-status employment position as a Care Buslness Partner with POET,

        L.L.C. It was a high paying job.

    19.Nyreen received numerous good employment reviews. She also received multiple

        bonuses for doing good work.

    20. On August 2, 2017, Cheryl Kappenman, who was the Director of Human Resources at

        POET, L.L.C., asked to meet Nyreen at a Perkins restaurant. During that unusual meeting

        Cheryl told Barb that she had "outgrown her position". Kappenman asked Nyreen to

        resign her position with POET, L.L.C.

    21. On August 8, 2017, under pressure, Nyreen was forced to send a letter to Cheryl

        Kappenman resigning her posting with POET, L.L.C.

    22. On August 9, 2017, under pressure, Nyreen was forced to resign her position by sending

       an e-mail. See attached Exhibit E).

    23. On August 15, 2017 POET, L.L.C. presented Nyreen a Separation Agreement and

       General Release. That proposed release, among other things, would have relieved POET,

       L.L.C. from any claims Barb Nyreen had under the Age Discrimination in Employment

       Act. See attached Exhibit F). Nyreen refused to sign the proposed Separation

       Agreement.

    24. Nyreen was constructively discharged as described above, at least in part because of her

       age, in violation of 29 U.S.C. § 623(a).

    25. Nyreen's position with POET, L.L.C. was replaced by a younger, less qualified

       candidate.



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    26. Nyreen has done an exhaustive job search.

    27. Nyreen is now employed by the South Dakota Department of Labor and Regulation as an

        Employment Specialist. She makes $16.30 per hour working 40 hours per week.

    28. Nyreen has had to seek counseling through Sanford Health Psychfatry and Psychology

        Clfnic with Rebecca Palugyay, MSW. Dr. Brooks, Nyreen's primary care physician, has
                     .      ::::.   -< .    .: •, .. :. .                :::;:   •. ., : : - :• ~ -   •   , ; : ,,; ~
        been prescribed strong anti depressant and anti anx~ety medication:~;:;;::.>       :: . ..... :.,~~,
                                                                            in nrder :to :deal     vrn~
                     ..                    . ..... ..~ :.:. .:....




                                                                         COUNTI
                                                           AGE DISCRIMINATION

    29. Plaintiff incorporations and restates each of the above paragraphs as if though fully set

       forth herein.

    30. The Defendant, POET, L.L.C. intentionally discriminated against Barb Nyreen based

       upon her age.

    31. POET, L.L.C. harassed the Plaintiff in an effort to secure her involuntary resignation.

    32. POET, L.L.C. discharged Plaintiff upon a pretextual ground of inept job performance.

    33. As a direct and proximate cause of POET, L.L. C. 's discriminatory conduct as described

       herein, based upon age, Nyreen has been damaged.

    34. Without being forced into resigning and being constructively terminated, Barb Nyreen

       would have continued her employment with POET, L.L.C. until at least age 75.



                                                                        COUNTII
                          NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS



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     35. Plaintiff incorporates paragraphs One (1) through Thirty-four (34) herein as though fully

        set forth herein.

     36. POET, L.L.C.'s conduct as alleged herein was neglect.

     37. Nyreen suffered emotional distress as a result of POET's conduct.

     38. Nyreen has suffered physical manifestations of the emotional distress including but not

        limited to nausea, trembling hands, stomach issues, diarrhea, loss of appetite, weight loss,

        trouble sleeping and feeling faint.



                                                  COUNT III

                                        DEFAMATION/SLANDER

     39. PlaintiffNyreen incorporates paragraphs one (1) through thirty-eight (38) above.

     40. POET, L.L.C. has defamed and slandered Barb Nyreen by speaking/writing and

        circulating malicious, untrue and damaging comments about her job performance.

     41. As a result of these actions, Plaintiff Nyreen was damaged.



        WHEREFORE, Plaintiff requests that this Court enter judgement against Defendant and

    provide the following relief:

           1. Compensatory damages.

           2. Liquidated damages.

           3. Back pay, front pay, fringe benefit and prejudgment interest.

           4. Punitive%xemplary damages against Defendant in whatever amount, exclusive of

               costs and interest, that Plaintiff is found to be entitled.

           5: An order placing Plaintiff in the position that she would have been in had there



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                been no discriminatory violation of her rights.

            6. For recovery of her disbursements.

            7. An award of interest, costs, expert witness fees, and reasonable attorney's fees,

                pursuant to 42 U.S.C. § 2000(e)-5(k), 29 U.S.C. § 2617(a)(3), and 42 U.S.C. §

                12205.

            8. Any and all other remedies provided pursuant to The Age Discriminatfon in

                Employment Act.

            9. Such other and further relief as the Court deems appropriate.




  Date this aday of August, 2018.

                                                KING          FIRM, P.0

                                                            ~
                                                David J. King
                                                Attorney for Claimant
                                                141 N. Main Ave, Ste 700
                                                Sioux Falls, SD 57104
                                                (605) 3324000 phone
                                                (605) 334-5797 fax
                                                david(~
                                                     a,davidkin,glawfirm.com




                                          JURY DEMAND

         Plaintiff herewith request that this matter be heard before a jury of her peers pursuant to

  S.D.C.L. § 15-6-38(b).




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               Exhibit A
       Case 4:18-cv-04118-LLP Document 1-1 Filed 09/19/18 Page 9 of 26 PageID #: 13

                     CHF,RGE OF DISCRIMINATION                                  .                      Charge Presented To:              • Agency(ies) Charge No(s):
            Thts ronn is affected by the Pdvacy Acl of 1974. See enclosed Pdvacy Act                      a FEPA
                   Slatement and other informatton before compleUng Ws foon.
                                                                                                          X EEOC                             444-2018-00011
                                                  Sioux Falls Human Relations Commission                                                                  and EEOC
                                                                       State or toca► Agancy, if any
Name (lndlcate Mr., Ms„ MrsJ                                                                                    Home Phone (lncl. Area Code)            Date of t3lrth
 Ms. Barb A. Nyreen                                                                                                (712) 259-9992               1
Slreet Address                                                                City, State and ZIP Code
 3713 E Steeple Street, Sioux Fails, SD 57103

 Named is the Employer, Labor Organtzation, Empioyment Agency, Apprenticeship Committee, or State or Local Govemment Agency That I Bdeve
Discriminated Against Me or Others. (If mon3 than two. list under PARTICtlLARS below.)
Name                                                                                                            No. Employeas, Members     Ptrone No. (Include Area Code)
POET, LLC                                                                                                          Unknown                    (605) 965-2200
Street Address                                                               City, State and ZlP Code
4615 N Lewis Ave, Sioux Falls, SD 57104

Name                                                                                                            No. ¢mpsoyere. Membera     Phona Na (/ndude Area Code)


Street Address                                                               Ciry. State and ZIP Code



OISCRIMINATION BASED ON (Check approprlate twz(es).)                                                                    DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                               Eadiest                    Latest
  ❑      RACE       F-'j COLOR           a SEX              ❑ REUGION               ❑- NATIONAL ORIGIN                    0401-2017                 OS-18-2017
       E] RETAUATION             ~ AGE           F--j DISABILitY             ❑ GENETIC INFORMATION
                 ~ OTHER (Spedly)                                                                                              El CONTINUING ACTION
THE PARTICULARS ARE (tf addlUonal psper fs needad, attach extra sheef(s)):

  1. 1 have been an employee of the above-named Respondent since 2011. On or about August 2, 2017,
  without warning, I was informed that 1 must resign my positlon within 30 days. I was told the posi6on would
  be refilled. I resigned effective August 18, 2017.

 11. Reason given for Respondent's actions: I had outgrown my position and a performance improvement
 plan would not correct the problem, although specific problems were not identified.

 III. 1 believe that I have been discriminated against because of my age, 59, in violation of the Age
 Discrimination in Employment Act of 1967, as amended.




1 want tids charge fited with both the EEOC and Ihe State or bcai Agency, it any. I      NOTARY — When necessary ror State and Local Agency RequbemarMs
vn11 advise the agendes if I change my address or pl-ane numbr: .u►d i wGl
cooperate fully with them In the pmcessing of my charge in accordance wtlh their
pnx:edures.                                                                              I swear or afflnn that 1 have read the above charge and that it Is true to
i dedare under penalty of perJury that the above is tn.e and corred.                     the tx:st of my knowledge, infannatton and belief.



                                                                                                       ED AND
                                                         ~                                             zeq
          Date                               Charging PtS9gnature                                                                                           ~
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                Exhibit B
      Case 4:18-cv-04118-LLP Document 1-1 Filed 09/19/18 Page 11 of 26 PageID #: 15




                                     U.S. Equal Employment Opportunity Commission
                                                      Minneapolis Area Office                    Equai Empioyrnent opPoWnity cotnnMWon
                                                                                                             330 S 2ndAvenue, SuHe 720
                                                                                                                  Minneapotis, MN 55401
                                                                                                                         (612) 335-4040
                                                                                                                    TOD:1-80M9-8820
                                                                                                                     Fax (612) 335-4044
                                                                                                                        1-600•669-4000
     Respondent: POET LLC
     EEOC Charge No.: 444 2018-00011
     FEPA Charge No.:                                                                                       November21, 2017

     David J. King
     KING LAW FIRM, P.C.
     141 N Main Avenue
     Suite 700
     Sioux FaAs, SD 57104

     Dear IGng:

     This is to acknowiedge receipt of the above-numbered charge of employment discrimination against the above-named
     respondent Please use the °EEOC Charge No." tisted above whenever you call us about this charge. The information
     provided indicates that the charge is subject to:

             (I                    Title Vil of the Civil Rights Act of 1964 (Titie VII)
             (x)                   The Age Discrimination in Employment Act (ADEA)
                                   The Americans with Disabilities Act (ADA)
             i)                    The Equal Pay Act (EPA)
             ()                    The Genetic Information Nondiscrimination Act (GINA)

C    You need do nothing further at this time. We wiil contact you when we need more information or assistance. A copy of
     the charge or notice of the charge wiil be sent to the n3spondent within 10 days of our receipt of the charge as requin:d
     by our procedures.

     Please be aware that we wiq send a copy of the charge to Sioux Falls Human Relations Commission 224 West 9th
     Street Sioux Fails, SD 57104 as required by our procedures. If the charge Is processed by that agency, it may require
     the charge to be signed before a notary public or an agency official. Then the agency will investigate and resolve the
     charge under their statute. if this occurs, section 1601.76 of EEOC's regulations entitles you to ask us to perfonn a
     Substantial Weight Review of the agency's final finding. To obtain this review, a written request must be made to this
     office within 15 days of receipt of the agenay's final finding in the case. Otherwise, we wiil generaliy adopt the agency's
     finding as EEOC's.

     The quickest and most convenient way to obtain the contact information and the status of your charge is to use
     EEOC's Oniine Charge Status System, which is available 24/7. You can access the system via this (ink
     (https://publicportal.eeoc.gov/aortal) or by selecting the °iilly Charge Status" button on EEOC's Homepage
     (www.eeoc.gov). To sign in, enter your EEOC charge number, your zip code and the security response. An
     informational brochure is enctosed that provides more information about this system and its features.
     While the charge is pending, this office shouid be notified of any change in your client's address, or where they can be
     reached if they have any prolonged absence from home. Your cooperation in this matter is essential.
                                                                 Sincerely,


                                                                 Karen E'i6eymour
                                                                 Office Automation Asst
                                                                 (612) 335-0050

~ Enclosure(s):           cc: Barb A. Nyreen
                          3713 E Steepie Street
                          Sioux Falis, SD 57103
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               Exhibit C
        Case 4:18-cv-04118-LLP Document 1-1 Filed 09/19/18 Page 13 of 26 PageID #: 17


 EEoc F«m 1e1-8 (»ne)                   U.S. EaUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                      INOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
 To:   Barb A. Nyreen                                                                  From:- Minneapolis Area Office
       3713 E Steeple Street                                                                  Equal Employment Opportunity Commission
       Sioux Falls, SD 57103                                                                  330 S 2nd Avenue, Suite 720
                                                                                              Minneapolis, MN 55401




       ED       On behafl ofperson(s) aggrieved whose idend(y is
                CONFIDENTIAL (29 CFR §1601.7(a))

 EEOC Charge No.                                      EEOC Representative                                               Telephone No.
                                                      David R. Noyes,
 444-2018-00011                                       Investigator Support Asst                                         (612) 335-4057
                                                                                    (See a/so the additional informaGon enclosed rvith this form.)
NOTICE To THE PERSON AGGRIEVED:
Title VII of the Civii Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This Is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for fiiing suR based on a claim under
state law may be different.)

       ED      More than 180 days have passed since the filing of this charge.

       Q       Less than 180 days have passed since the filing of this charge, but I have determined.that it is unlikely thatthe EEOC will
               be able to complete its administrative processing within 180 days from the filing of this charge.

       Q       The EEOC is terminating its processing of this charge.

       ED      The EEOC will confinue to process this charge.
Age Discrimination in Empioyment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. in this regard, the paragraph rnarked below appiies to
your case:
       X~      The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
               90 DAYS of your receipt of thls Notice. OthenMse, your right to sue based on the above-numbered charge will be lost.

       Q       The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the fiiing of the charge,
               you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 vears f3 vearsl before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this offlce.

                                                                       On behalf of the Commission


                                                        Q~~                                                          ~')1                    1p,
Endosures(s)                                                         Julia ne Bowman,                                         Dale kallecO
                                                                      District Director

 cc:        Tim Shattuck                                                              David J. King
            Woods, Fuller, Shuitz & Smith, P.C.                                       KING LAW FIRM, P.C.
            300 S. Phillips Avenue,                                                   141 N Main Avenue
            Suite 300                      •                                          Suite 700
            Sioux Faiis, SD 57104                                                     Sioux Falis, SD 57104
            (Respondent Legal Representative)                                             Legal Representative)
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 ErApsure wIth EEoc
 Form 181a (itns)
                                        INF®uATIOp RtLATED TO FILING SUIT
                                      UNDER THE LAWS ENFORCED BY THE EEOC

                      (This information re/ates to filing suit in Federral or State court under Federal law.
             If you a/so plan to sue claiming violatfons of State law, p/ease be awan; that time limits and other
                    pnovisions of State law may be shorter or more limited than those described below.)

                               _ Title VII of the Civil Rights Act, the Americans vvith Disabilities Act (ADA),
 PRNATE SUIT RIGHTS
                                  the Genetic Information Nondiscrimination Act (GINA), or the Age
                                  Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you shouid keep a record of this date: Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice wiil be lost. If you intend to
consult an attorney, you should do so promptly. Give your attomey a copy of this Notice, and its envelope, and teli
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the generral civil t(al court.) Whether you file in Federai or State court is a matter for you to decide
after talking to your attomey. Filing this Notice is not enough. You must file a"complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. if so, you shouid remove your birth date from the
charge. Some courts wili not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simpie questions, you usually can get answers from
the office of the cierk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legai strategy decisions for you.

PRIVATE SUIT RIGHTS           --   Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful vioiations) of the aileged EPA underpayment: back
pay due for violations that occurred more than 2 vears (3 vears) before you file suit may not be collectibte. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Titie VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
ciaim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION             -- Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attomey). Requests should be made wetl before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                    -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, inciuding advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)
                    IF YOU FILE SUIT, PL' EASE SEND A COPY OF YOUR COURT COMPLA/NT TO TH/S OFFICE.
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               Exhibit D
 Case 4:18-cv-04118-LLP Document 1-1 Filed 09/19/18 Page 16 of 26 PageID #: 20



                                               ®                                                       .
              .~. ~
                  _

                                          .CARE Business Partner
                                                          ..
                                            (Human Resources)
 Department: POET LLC CARE
 FLSA Status: Exem t


 POET is a very unique company. We aim every day to be worid ciass in all that we do. Taking care of and supporting our
tearri members is no exception. That's why we renamed the Human Resources team to the CARE Team. CARE stands
for Culture, Attitude and Achievement, Rewards and Recognition, and Engagement.

The CARE Business Partner will heip support many of the strategies and initiatives associated with ali areas that typically
fail under the Human Resources responsibility including a strong emphasis on our PEOPLE strategy. As an integral part
of the CARE Team, this position will provide operational and strategic input to various business leaders across the POET
Enterprise and wiil be viewed as a valued team member with unquestionable character and integrity. This position wiii
report to the Director, CARE Business Partner and will assist in driving the importance of people at POET.




1. Foster POET's company cuiture and provides creative measurements and feedback to the leaders of POET to
     promote and ensure the desired culture exists across the enterprise
2. Lead by example in upholding the highest ievel of integrity and confidentiality in the organization
3. Formulate partnerships with business leaders to support the business needs to inciude: team member development
    and peopie strategies and initiatives
4. Proactively review compensation anaiysis for assigned business functions and make recommendations where
    appropriate
S. Partner with business leaders on highly effective recruitment and retention strategies
6. Participate in the recruitment process as needed in accordance with POET's Standard Operating Procedures
7. Prepare and provide team member related KPI's and benchmarks to the various business ieaders
8. Develop meaningful cross-functional relationships with leaders and team members that enabie you to influence and
    shape the business objectives of the organization
9. Understand the organization's cun-ent and desired future state, gaps and priorities to support the business goais
10. Collaborate with the Development and Growth leaming team to enhance leadership capabird;ies and implement
    change, deveiopment, and culture initiatives
11. Regulariy provide risk assessments to business leaders
12. Assist in managing company policies that pertain.to team members and make recommendations to enhance policies
    to either compiy with laws or that further promote the desired POET cufture
13. Stay cun'ent on ail pertinent federal, state, and. case law changes and monitors labor law updates for changes that
    may affect POET
14. In conjunction with business leaders, visit plants and partner with General Managers on team member.engagement
    initiatives
15. Conduct investigations of team member complaints or concems brought forth. Protect the interest of team members
    and the company in accordance with company policies and govemmental laws and regulations
16. Assist with team member communication and feedback through such avenues as company meetings, suggestion
    programs, and team member engagement surveys, and one-on-one meetings
17. Conduct exit interviews. Create and provide trend data reporting to business leaders
18. May provide benefits administration service and assist team members with any ciaim issues (Leaves of
    AbsenceNVorker's Compensation/Bereavement, etc...)
19. May provide assistance as it reiates to unemployment claims/processes/appeais
20. Work in an honest and ethical manner; maintain confidentiaiity on all business reiated matters
21. Complete work in a timeiy, accurate and thorough manner
22. Champion POET in the communities we do business in
23. Provide a high level of customer service and friendiy atmosphere
24. Others duties as assigned


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 To perform the essential functions of this position successfully, an individua) should possess the following:

       •     Bachelor's Degree required; preferably in the area of Human Resources Management, Psychology, or Business
       •     6+ years of progressive leadership; preferably in Human Resources positions is required
       •     Specialized training in employment law, compensation, organizationai and strategic planning, organlzational
             development, employee relations, training, and labor relations preferred
       •     Professiona) in Human Resources (PHR) or SHRM Certified Professional (SHRM-CP) certiflcation preferred
       •     Experience in the administration of benefits and compensation programs and other Human Resources programs
       •     Ability to analyze and assess training and development needs
       •     Highly organized and ability to present facts and recommendations effectively in oral and/or written form
       •     Facilitation and training experience with large and small group meetings
       •     Evidence of the practice of a high level of confidentiality
       •     Research and anaiyze various types of data information
       •     Knowledge of federal, state, and local employment, wage and salary laws and regulation
       •     Ability to interpret and advise on the appiication of EEO/Ai4 laws
       •     Knowledge of HRIS used in HR applications
       •     Ability to make recommendations to effectively resolve problems or issues by using judgment that is consistent
             with standanis, practices, policies, procedures, regulation, or govemmental law is a requirement
       •     Knowiedge in Woni, Excel; PowerPoint and Outlook and the ability and willingness to leam new soflware
             applications
       •     Excellent organizational skills, communications skilis, the ability to multi-task, and most importantly, the ability to
             work well in a team



This position is largely seif-directed and requires understanding of company policy, procedures, and values. Team
members will be required to adhere to all safety requirements in ali work environments. This position operates in an offlce
environment In the offlce, the team member will work on a personal computer.

Travel, with some ovemight stays, is required, up to 25%.

Specffic physical requirements include:
   a. Sitting approximately 90% of the time while working on a personal computer.
   b. Occasional lifting of fifty (50) pounds or less.




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                Exhibit E
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   Barb Nyreen
   3713 E Steeple St
   Sioux Fails, SD 57103


   August 8, 2017


   Cheryl Kappenman
   Director, CARE Business Partner
   POET LLC
   Sioux Falis, SD 57104



   Dear Cheryl,

   I would like to iniorm you that I am resigning from my position as CARE Business Partner wlth POET.

   My last day with POET will be Frlday. September 8, 2017. My main goal is to wrap up outstanding
   projects and if there is anything I can do to heip smooth the transition responsibilitles, please let me know.

   Sincerely,



   Barb Nyreen
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                Exhibit F
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                                                  SEPARATION AGREEMENT AND GENERAL RF.T.F,AGF

        This Separation Agreement and General Release ("Agreement") is entered into by and
        between Barbara Nyreen ("Employee") and POET, LLC ("Company") (collectively, the
        "Parties").
        WHEREAS, Employee and Company desire to enter into an agreement regarding
        Employee's separation of employment from Company and a release of claims; and
        WHEREAS, Company desires to provide separation benefits to Employee as set forth below;
        NOW THEREFORE, in consideration of the mutual promises, waivers and releases
        contained herein and for other good and valuable consideration, the sufficiency of which is
        hereby acknowledged, the Parties agree as follows=
               1.     Senaration from Emplovment. Employee acknowledges and understands
        that Employee is resigning Employee's employment effective at the close of business on
        September 8, 2017 (the "Separation Date). Employee further acknowledges and
        understands that Employee's last day in the office will be August' 18, 2017, after which date
        Employee will not perform any more work-related job duties.
               2.     Payment. Subject to the terms of this Agreement and provided that
C.      Employee signs and returns this Agreement to Cheryl Kappenman, Director, CARE
        Business Partner, within twenty-one (21) days after the date Employee receives this
        Separation Agreement and General Release, Company will pay to Employee a special
        lump-sum separation payment in the gross amount of nine thousand dollars and zero cents
        ($9,000.00), which is equal to six (6) weeks base salary at Employee's then-current
        annualized rate, less required and authorized withholdings and deductions (the "Separation
        Payment"). Provided Employee signs and returns this Agreement and otherwise complies
        with the terms of the Agreement, the Separation Payment will be paid in lump sum as soon
        as reasonably practicable.
                3.      Vacation Pav. Company will pay Employee's earned and unused vacation
        time as of•the Separation Date; less required or authorized deductions. Employee agrees
        that this is the total amount of vacation due as of the Separation Date. Employee agrees
        that no additional vacation will be earned after the Separation Date.
                4.      Release of Claims. Employee, and anyone claiming through Employee or on
        Employee's behalf, hereby releases and forever discharges Company and all of its affiliated
        companies, including, but not limited to: POET Plant Management, LLC and the
        biorefineries it manages; POET Biorefining, LLC and its subsidiaries; POET Design and
        Construction, Inc.; POET Research, Inc.; POET B.esearch Center, Inc.; POET Nutrition,
        Inc.► POET Investments, Inc.; POET Biomass, LLC► PPL Parent Holding Company, LLC;
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F-           PPL Subsidiary Holding Company, LLC; POET Leasing, LLC; POET Risk Management
(            Associates, Inc.; Ethanol Products, LLC; POET Grain LLC; POET Biorefining — Cloverdale,
             LLC; POET-DSM Project Liberty, LLC; and POET-DSM Advanced Biofuels, LLC and all of
             its affiliated companies; and all of their past, present and future owners, officers, directors,
             members, past and present employees, representatives, insurers, benefit plans, plan
             administrators, agents, divisions, parents, subsidiaries, successors and assigns (collectively
             the "Released Parties"), from any and all claims and causes of action of any type arising, or
             which may have arisen, out of or in connection with Employee's employment or termination
             of employment. The release of claims in this Paragraph includes, but is not limited to= any
             claims, demands or actions arising under the Age Discrimination in Employment Act of
             1967, as amended from time-to-time; Title VII of the Civil Rights Act of 1964, the
             Americans with Disabilities Act, as amended from time-to-time; the Family and Medical
             Leave Act, the Equal Pay Act, 42 U.S.C. §§ 1981, 1983, and 1986; the Sarbanes-Oxley Act of
             2002; public policy claims; the South Dakota Human Relati.ons Act; the South Dakota
             Equal Pay Act; the South Dakota Law on Genetic Information Bias in Employment; the
            South Dakota Constitution,' retaliation; retaliatory discharge; invasion of privacy; personal
            injury of any kind; breach of contract; unjust enrichment; interference with contract;
            libel/slander/defamation; wrongful termination of employment; intentional or negligent
            infLiction of emotional distress; negligent hiring, retention, supervision or any other
            negligence; vicarious liability; assault; battery; promissory estoppel; equitable estoppel;
            wage/salary/bonus/benefits/vacation; attorney's fees, costs, and/or disbursements,' claims for
            alleged breach of fiduciary duty under Section 409 of the Employee Retirement Income
            Security Act alleging impairment in value of Employee's accounts, if any; any other
    _.      claims under federal, state or local law for unlawful employment practice; any other
(           statutory, tort, civil rights, contractual, and/or common law claims; and any other clai.ms
            arising out of or related to the Released Parties as of the date of Employee's execution of
            this Agreement. Employee further understands that this discharge of claims extends to,
            but is not limited to, all claims which Employee may have against the Released Parties as
            of the date of Employee's execution of this Agreement. Employee acknowledges that this
            release includes all claims that Employee is legaIly permitted to release, and as such it does
            not apply to any vested rights under the Released Parties' retirement plans, nor does it
            preclude the Employee from ~iling a charge or claim that is non-waivable, including, but not
            ]imited to, charges of discrimination. Employee agrees, however, that Employee is waiving
            the right to any monetary recovery (including any obligation for any costs and attorney's
            fees) should any governmental agency or any other person pursue any such claims or
            charges on Employee's behalf.

                   5.     No Other Actions or Claims. Employee represents and warrants that: (i)
           Employee has not filed or initiated any legal or other proceedings against Company or any
           of the other Released Parties; (ii) no such proceedings have been initiated against any of the
           Released Parties on Employee's behalf (iii) Employee is the sole owner of the claims that
           are released in Paragraph 4 above; (iv) none of these claims has been transferred or
           assigned or caused to be transferred or assigned to any other person, firm or other legal
           entity; (v) Employee has the full right and power to grant, execute and deliver the releases,
           undertakings and agreements contained in this Agreement; and (vi) Employee has not
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        received from Company or its attorneys any representation or warranty concerning any tax
        consequences of any monies or other benefits provided under this Agreement.

                6.      Confidential Information Accauired Durine• Emnloyment. Employee agrees to
        continue to treat as private and privileged any information (including trade secrets), data,
         figures, projections, estimates, sales and marketing plans, business strategies, strategic
        plans, customer information, customer and vendor lists, lists of contract workers, price lists,
        pricing methods, research and development, engineering information, manufacturing and
        production information, purchasing information, merchandising information, tax records,
        personnel records, accounting procedures and finances, formulas, contracts, business
        partners, alliances, ventures and all other confidential information which Employee
        acquired regarding Company and the other R.eleased Parties or any of their customers or
        vendors while working for Company. Further, Employee agrees not to release any such
        information to any person, firm, corporation or other entity at any time, except as may be
        required by law, or as agreed to in writing by Company. Employee acknowledges that any
        violation of this non-disclosure provision shall entitle the Company to appropriate
        injunctive relief and to any damages which it may sustain due to the improper disclosure.

                 7.    Confidentialitv, Non-Disnaraaement. Employee agrees to keep the terms,
        facts and existence of this Agreement completely confidential, and also agrees not to
        disclose the terms of this Agreement or any information concerning this Agreement to
        anyone other than Employee's counsel, tax accountant or spouse, except as may be required
        by law or agreed to in writing by Company. Employee agrees not to disparage or defame
        the goodwill or reputation of the Company or any of the Released Parties in any respect and
C       not to make any derogatory comments or statements, whether written or oral, regarding
        the Released Parties or any of their owners, oSicers, directors or employees, to any other
        person or entity. Employee acknowledges that this Confidentiality/Non-Disparagement
        covenant was a significant inducement for the Company to enter intQ this Agreement, and
        that any breach of this provision shall constitute a material breach of the Agreement and
        entitle the Company to the return of all monies paid to Employee pursuant to this
        Agreement, appropriate in41unctive relief and to any other damages which it may sustain
        due to the violation, including, but not limited to, any attorney's fees incurred in connection
        with the violation or any legal action related thereto. Nothing in this Agreement prohibits
        Employee from reporting to, communicating with, contacting, responding to an inquiry form
        or providing relevant i.nformation to or particapating or assisting in an investigation
        conducted by the Securities and Exchange Commission or any other governmerital or
        regulatory body or official or self-regulatory organization. Employee does not need to notify
        the Company before making such reports, disclosures or communications.

               8.      Separation from Emnloyment and Continuina Benefits. Employee's
        employment with the Company and all benefits associated therewith, except as provided
        herein or as provided in any employee benefit plan in which Employee is a participant (if
        any), ended on the Separation Date. Employee acknowledges that Employee has been paid
        aIl amounts and benefits due and owing to Employee through the Separation Date.
        Employee's health insurance coverage under the Company's group health plan shall
        continue through midnight on the last day of the month in which the Separation Date

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           occurs. After that date, the Employee will only be eligible to elect benefits continuation to
~          the extent permitted under: (a) the Consolidated Omnibus Budget Reconciliation Act of
           1985 ("COBRA") in accordance with applicable COBR.A provisions,' or (b) any applicable
           state-specific benefits continuation laws. Employee shall promptly inform Company in
           writing when Employee obtains or becomes eligible for any such other health care coverage.
           Company will pay the cost of Employee's COBRA coverage through November 30, 2017, and
           then Employee shall be responsible for paying the full costs of such COBRA coverage for the
           remainder of the COBRA period.

                  9.     Cooneration. Employee agrees that, at Company's request, Employee will
          cooperate with Company in any claims or lawsuits against Company where Employee has
          knowledge of the facts involved in the claim or lawsuit. Employee further agrees not to
          voluntarily aid, assist or cooperate with anyone who has claims against Company or with
          their attorneys or agents in any claims or lawsuits which such person may bring against
          Company. Nothing in this Agreement prevents Employee from testifying at an
          administrative hearing, arbitration, deposition or in court, in response to a lawful and
          properly served subpoena. Employee acknowledges that this Cooperation covenant was a
          significant inducement for Company to enter into this Agreement and that a breach of this
          covenant will constitute a material breach of the Agreement and entitle Company to return
          of all monies paid to Employee pursuant to this Agreement, appropriate injunctive relief
          and to any other damages which it may sustain due to the violation, including, but not
          limited to, any attorney's fees incurred in connection with the violation or any legal action
          related thereto.

                 10. No Admission of Wrongdoina. Nothing in this Agreement is intended to or
          shall be construed as an admission by Company or any of the other Released Parties that
          any of them violated any law, interfered with any right, breached any obligation or
          otherwise engaged in any improper or illegal conduct with respect to Employee or
          otherwise. Company and the other Released Parties elcpressly deny any such illegal or
          wrongful conduct.

                 11.    Return of Comnany Propertv. Employee represents that as of the Eicecution
          Date of this Agreement, Employee has returned all information (electronic and hard copy)
          and other property of Company and the other Released Parties in Employee's possession or
          control, including, without limitation, any Company vehicle(s), all confidential and
          proprietary information (whether in hard copy or electronic form), security keys, passes,
          credit cards, phone cards, laptop computer, computer manuals, PDA, smart phones,
          customer and vendor lists (printed and electronic copies), keys, documents, busiiness
          equipment, computer software, discs and media, policy and procedures manuals, and any
          other materials pertaining to any matter Employee worked on for Company. If it is
          determined at any time that Employee has failed to return the property contemplated by
          this Paragraph, Company shall be free to withhold any unpaid portion of the Separation
          Payment owed to Employee under this Agreement and/or bring an action to recover said
          property and/or any money paid to Employee under this Agreement, along with the
          attorney's fees incurred in an effort to enforce its rights under this Paragraph.


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                  12.    Choice of Law. The terms of this Agreement shall be governed by the laws of
(r ^       the State of South Dakota, without regard to its choice of law rules, and shall be construed
           and enforced thereunder.

                 13. Merger. This Agreement sets forth all understandings and agreements
          between Employee and Company, and supersedes and replaces all prior oral and written
          agreements, understandings and representations between Employee and Company, except
          that Sections 4.0 through 9.0 of Employee's Employment Agreenient and the Notice To
          Employee Regarding Intellectual Property appended thereto, and the obligations and
          representations contained therein, shall remain in fiill force and effect and survive
          termination of Employee's employment with the Company.

                 14.     Consideration. Employee acknowledges and agrees that the foregoing
          payments and benefits each provide Employee with valuable consideration to which
          Employee would not otherwise be entitled if Employee had not signed this Agreement.

                 15. Waiver of Breach. Any party's failure to enforce this Agreement in the event
          of one or more events that violate this Agreement shall not constitute a waiver of any right
          to enforce this Agreement against subsequent or continuing violations of this Agreement.

                 16.     Severabilitv. Whenever possible, each provision of this Agreement shall be
          interpreted in such manner as to be effective and valid under applicable law, but if any
          provision of this Agreement is held to be invalid, illegal or unenforceable, such invalidity,
          illegality or unenforceability shall not affect the other provisions of this Agreement, and
          this Agreement shall be construed as if such invalid, illegal or unenforceable provision had
~.        never been contained herein.

                  17. Medicare Eliaibilitv. Employee affirms, covenants and warrants Employee
          has made no claim for illness or injury against, nor is Employee aware of any facts
          supporting any claim against, the Released Parties under which the Released Parties could
          be liable for medical expenses incurred by Employee before or after the execution of this
          Agreement. Furthermore, Employee is aware of no medical expenses which Medicare has
          paid and for which the Released Parties are or could be liable for now or in the future.
          Employee agrees and affirms that, to the best of Employee's knowledge, no liens of any
          governmental entities, including those for Medicare conditional payments, exist. Employee
          will indemnify, defend and hold the Released Parties harmless for Medicare claims, liens,
          damages, conditional payments and rights to payment, if any, including attorney's fees, and
          Employee further agrees to waive any and all future private causes of action for damages
          pursuant to 42 U.S.C. § 1395y(b)(3)(A) etseq.

                 18. Not Assignable; Writing to Change. This Agreement is not assignable
          without the written consent of the Parties. Any changes to this Agreement must be made in
          writing and must be signed by the Parties.
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             19. Counternarts. This Agreement may be executed in counterparts, each of
       which shall be an original and together shall constitute one Agreement.
             20.    AcKNowLEDGMENTs. Other than as stated herein, Employee acknowledges,
       understands, and agrees that:
          (a) Employee has read and fully understands the terms and effect of this Agreement;
          (b) Employee releases and waives claims under this Agreement knowingly and
              voluntarily in exchange for consideration in addition to anything of value to which
              Employee already is entitled;
          (c) Employee hereby is and has been advised of Employee's right to have Employee's
              attorney review this agreement before signing it;
         (d) Employee has twenty-one (21) days after the date on which Employee receives this
            Agreement in which to consider whether to sign this Agreement; and
         (e) Employee has seven (?) days to revoke this A.greement after signing it.
      Accepted and Agreed to:
      EMPLOYEE                                          POET,LLC
                                                                 ~
~     Barbara Nyreen                                    Che 1 KEfpptfiman


                                                          ~ •!s. 2Dl7
      Date Executed                                     Date Executed
